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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                 :    18-cr-879 (SHS)

              -v-                                         :    ORDER

ARIEL JIMENEZ,                                            :

                                Defendant.                :

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SIDNEY H. STEIN, U.S. District Judge.

     The Court is in receipt of the joint letter [Doc. No. 264] filed by the parties on October
19, 2020, requesting a date for commencement of trial. Accordingly,

     IT IS HEREBY ORDERED that:

     1.       The trial will commence on June 21, 2021, at 9:30 a.m.;

     2.      Proposed jury charges, any motions in limine, and, if the parties wish, proposed
voir dire, are due by May 10, 2021; and

     3.       Responses to any motions in limine are due by May 24, 2021.

Dated: New York, New York
       October 20, 2020
